                  Case 1:16-cv-03088-ELR               Document 2-1          Filed 08/23/16         Page 1 of 2


AO 440 ( Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Northern Di strict of Georgia


                  United States of America                       )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)
                                                                 )
                                                                 )
                                 V.                                      Civil Action No. 1:16-cv-3088
                                                                 )
                        State of Georgia                         )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) State of Georgia
                                   C/0 Sam Olens
                                        Attorney General
                                        Office of State Attorney General
                                        40 Capitol Square, S.W.
                                        Atlanta, Georgia 30334


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: U.S. Department of Justice                          U.S. Attorney-NOGA
                                 Civil Rights Division                          75 Ted Turner Drive
                                 Educational Opportunities Section              Atlanta, Georgia 30303
                                 950 Pennsylvannia Avenue, N.W.                  ATTN: Aileen Bell-Hughes
                                 Washington , D.C. 20530
                                 ATTN : Andrea Hamilton

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion w ith the court.

                                                                            JAMES N. HATTEN
                                                                           CLERK OF COURT


Date: _08/23/2016
       _ _ _ _ _ _ _ __                                                                           s/Joyce White
                                                                                     Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, if any)
 was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                   on (date)                           ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                    , a person of suitable age and discretion who resides there,
          ------------------
           on (date)                                 ' and mailed a copy to the individual's last known address; or

           0 I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                   on (date)                           ; or

           0 I returned the summons unexecuted because                                                                               ; or

           0 Other (specify) :




           My fees are$                              for travel and $                  for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.



 Date:
                                                                                               Server 's signature



                                                                                           Printed name and title




                                                                                               Server's address


Additional information regarding attempted service, etc:
